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IN THE UNITED sTATE:s DISTRICT coURi*=*~Fil ~ - l`~`=C;____ _
FOR THE wEsTERN DISTRICT 0F TENNESSEE ;‘“'"--l
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wILLIE L. GATEWOOD, ""J~' ‘ H° "" w l

Plaintiff,
vs. No. 04-2236-Ma/An

OFFICER DANIEL MILLER, et al. ,

Defendants.

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ORDER CORRECTING THE DOCKET
ORDER OF DISMISSAL
' AND
ORDER TO SEND JUNE 29, 2004 ASSESSMENT ORDER
'I'O PLAINTIFF’S CURREN'I' PR.ISON

 

Plaintiff Willie L. Gatewood, Tennessee Department of
Correction (“TDOC”) prisoner number 99852, who was, at the time he
commenced this action, an inmate at the Northwest Correctional
Complex (“NWCX”) in Tiptonville, Tennessee, filed a pro §§ complaint
pursuant to Bivens v. Six Unknown Fed. Narcotics Agents, 403 U.S. 388
(1971), in the Eastern Division of this district on January 22, 2004,
along with an application to proceed in §Q;ma pauperis. The action
was transferred to this division by order dated March 24, 2004. On
June 29, 2004, the Court issued an order that, ig;g; §lia, assessed
the civil filing fee and ordered the clerk to issue process and the
marshal to effect service on the defendants. On October 7, 2004,
defendant Daniel Miller, through counsel, filed a motion to dismiss
the claims against him pursuant to Fed. R. Civ. P. lZ(b)(G). On

October 13, 2004, the Memphis Police Department filed a motion to

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dismiss the claims against it pursuant to Fed. R. Civ. P. l2(b)(6).
On November 18, 2004, defendant Sandlin filed a motion to dismiss the
claims against him pursuant to Fed. R. Civ. P. 12(b)(6). Because the
filing of these motions coincided with the plaintiff's release from
prison, the Court issued an order on February 8, 2005 that, ig;§r
alla, directed the defendants to serve the motions on the plaintiff
at his new address and directed the plaintiff to show cause, within
forty-five (45) days, why the defendants’ motions should not be
granted. The Court issued a second order on February 8, 2005
directing the plaintiff, within thirty (30) days, to file a
nonprisoner in fg;ma pauperis affidavit or remit the civil filing
fee.

On February lO, 2005, defendant Miller, through counsel,
filed notice that he had served his motion to dismiss on the
plaintiff. On March 23, 2005, the Memphis Police Department renewed
its motion to dismiss, which had been served on the plaintiff at his
address of record. On April 8, 2005, defendant Sandlin renewed his
motion to dismiss, which was served on plaintiff at his address of
record. To date, the plaintiff has not responded to any of these
motions to dismiss. He also has not filed a nonprisoner in fg;ma
pauperis affidavit, as required by the Court's February 8, 2005
order. The orders issued on February 8, 2005 were not returned by the
post office and, therefore, it is reasonable to assume they were
received. As the plaintiff has apparently abandoned this case, it is
DISMISSED with prejudice, pursuant to Fed. R. Civ. P. 41(b), for

failure to prosecute.

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The plaintiff's current whereabouts are not a mystery.
According to the TDOC website, the plaintiff is currently
incarcerated at the Shelby County Detention Center (“SCDC”). The
Clerk is, therefore, ORDERED to correct the docket to reflect the
plaintiff’s current address. As the plaintiff’s RNI number is
unknown, the plaintiff’s address shall include his TDOC number.l The
Clerk is further ORDERED to transmit copies of this order and the
June 29, 2004 assessment order to the inmate trust fund officer at
the SCDC and the Director of that institution in order to ensure that
the filing fee is paid.

IT Is so 0RDERED this 7""“\ day of August, 2005.

.1//(/"'°”
SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

1 The plaintiff promptly notified the Clerk of his release from prison.
Under these circumstances, his failure to notify the Clerk of his re-incarceration
indicates an intention to abandon this action.

3

 

UNTED STATES DISTRICT COURT - WESTENR DTISICT F TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CV-02236 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

Mary Elizabeth McKinney

GODWIN MORRIS LAURENZI & BLOON[FIELD, P.C.
50 N. Front St.

Ste. 800

Memphis7 TN 38103

Willie L. Gatewood
99852

3799 Patte Ann Dr.
Memphis7 TN 38116

Deborah A. GodWin

GODWIN MORRIS LAURENZI & BLOON[FIELD, P.C.
50 N. Front St.

Ste. 800

Memphis7 TN 38103

.1 can Markowitz
CAUSEY CAYWOOD
100 North Main St.

Ste. 2400

Memphis7 TN 38103

Henry L. Klein

APPERSON CRUMP & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

Memphis7 TN 38119--397

Thomas E. Hansom
HANSOM LAW OFFICE
659 Freeman Street
Memphis7 TN 38122--372

Honorable Samuel Mays
US DISTRICT COURT

